MANDATE
                   2:18-cv-00100-cr           Document 83   Filed 10/04/21   Page 1 of 1




                                  UNITED STATES COURT OF APPEALS
                                                FOR THE
                                           SECOND CIRCUIT
                              ____________________________________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 4th day of October, two thousand twenty-one,

     ____________________________________

     James River Insurance Company,                               ORDER
                                                                  Docket No. 21-1677
     lllllllllllllllllllllPlaintiff - Appellee,

     v.

     Paula Patorti, Lisa Patorti, June F. Kelly, as executor of
     the estate of Marilyn F. Kelly, Peter J. Kelly, Mary L.
     Kelly, Ralph M. Kelly, Alice L. Ruffner, Grace A.
     Parenteau, Michele E. Marion,

     lllllllllllllllllllllDefendants,

     Inn-One Home, LLC, AKA One house Residential Care
     Homes,

     lllllllllllllllllllllDefendant - Appellant.
     _______________________________________

            The parties in the above-referenced case have filed a stipulation withdrawing this appeal
     pursuant to FRAP 42.

             The stipulation is hereby "So Ordered".




                                                            For The Court:
                                                            Catherine O'Hagan Wolfe,
                                                            Clerk of Court




MANDATE ISSUED ON 10/04/2021
